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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
IN RE: NONJUDICIAL FORFEITURE                          )
PROCEEDING                                             )      MBD No.
                                                       )

                     ASSENTED-TO MOTION TO EXTEND TIME TO
                    FILE CIVIL FORFEITURE COMPLAINT AND/OR
                    OBTAIN INDICTMENT ALLEGING FORFEITURE

       The United States of America, by and through its attorney, Carmen M. Ortiz, United

States Attorney for the District of Massachusetts, with the assent of claimant Peter B. Harris,

through his attorney, Jai M. Gohel, as authorized pursuant to 18 U.S.C. § 983(a)(3)(A), hereby

moves upon agreement of the parties to extend from October 1, 2013 to October 31, 2013, the

time in which the United States is required to file a Verified Complaint for Forfeiture in Rem

and/or obtain an Indictment alleging forfeiture regarding the following property to which a claim

has been filed by Peter B. Harris (the “Claimant”) in a nonjudicial civil forfeiture proceeding

with the Department of Homeland Security, Office of Investigations (“HSI”):

       a.       $33,000 in United States currency, seized from Peter B. Harris on April 16, 2013
                at Logan International Airport, Boston, Massachusetts (the “Currency”).

       A proposed Order to Extend Time to File Civil Forfeiture Complaint and/or Obtain

Indictment Alleging Forfeiture is submitted herewith. The United States, in support of this

Motion, states as follows:

       1.       HSI seized the Currency at Logan International Airport on April 16, 2013, based

upon suspicious activity of the Claimant, the Claimant’s criminal history, the large amount of

currency involved, and a canine alert to the presence of narcotic odor.

       2.       HSI sent notice of its intent to forfeit the Currency administratively, as required


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by 18 U.S.C. § 983(a)(1)(A).

       3.       The Claimant filed a claim to the Currency, which was received by HSI on a

timely basis.

       4.       No other person has filed a claim to the Currency as required by law in the

nonjudicial civil forfeiture proceeding, and the time within which to file such claims has expired.

See 18 U.S.C. § 983(a)(2)(A)-(E).

       5.       HSI transmitted the claim received in the nonjudicial civil forfeiture proceeding

for the Currency to the United States Attorney for the District of Massachusetts, for the purpose

of initiating a judicial forfeiture action against the Currency.

       6.       18 U.S.C. § 983(a)(3)(A)-(C) states:

                (A)      Not later than 90 days after a claim has been filed, the Government
                shall file a complaint for forfeiture in the manner set forth in the
                Supplemental Rules for Certain Admiralty and Maritime Claims or return
                the property pending the filing of a complaint, except that a court in the
                district in which the complaint will be filed may extend the period for filing
                a complaint for good cause shown or upon agreement of the parties.

                (B)    If the Government does not -

                       (i)     file a complaint for forfeiture or return the property, in
                               accordance with subparagraph (A); or

                       (ii)    before the time for filing a complaint has expired -

                               (I)     obtain a criminal indictment containing an allegation
                                       that the property is subject to forfeiture; and

                               (II)    take the steps necessary to preserve its right to
                                       maintain custody of the property as provided in the
                                       applicable criminal forfeiture statute,

                the Government shall promptly release the property pursuant to regulations
                promulgated by the Attorney General, and may not take any further action
                to effect the civil forfeiture of such property in connection with the
                underlying offense.


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                (C)     In lieu of, or in addition to, filing a civil forfeiture complaint, the
                Government may include a forfeiture allegation in a criminal indictment.
                If criminal forfeiture is the only forfeiture proceeding commenced by the
                Government, the Government's right to continued possession of the
                property shall be governed by the applicable criminal forfeiture statute.

       7.       Pursuant to 18 U.S.C. § 983(a)(3)(A)-(C), unless the time is extended by the

Court for good cause or upon agreement of the parties, the United States is required to file a

complaint for forfeiture against the Currency and/or to obtain an indictment alleging that the

Currency is subject to forfeiture no later than October 1, 2013.

       8.       If the United States fails to file a complaint for forfeiture and/or to obtain an

indictment by the specified date, it is required to release the Currency and may not take any

further action to effect the civil forfeiture of the Currency in connection with the underlying

offense.

       9.       The Claimant and the United States have agreed to, and request, an extension of

time to and including October 31, 2013, to allow the parties to engage in settlement discussions

and potentially resolve the claim filed for the Currency without the need for further litigation.

                                           CONCLUSION

       The United States respectfully requests, with the assent of the Claimant, that the Court

enter an Order extending the period in which the United States is required to file a complaint

against the Currency and/or to obtain an indictment alleging that the Currency is subject to

forfeiture to October 31, 2013.




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                                                   Respectfully submitted,

                                                    CARMEN M. ORTIZ,
                                                    United States Attorney,



                                            By:      /s/ Veronica M. Lei
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                                                    Assistant United States Attorney
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Date: September 25, 2013                            veronica.lei@usdoj.gov


ASSENTED TO:



  /s/ Jai M. Gohel
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Date: September 25, 2013




                               CERTIFICATE OF SERVICE

      I, Veronica M. Lei, Assistant United States Attorney, hereby certify that the foregoing
document was served via email to counsel for the Claimant.

                                                    /s/ Veronica M. Lei
                                                    Veronica M. Lei
                                                    Assistant United States Attorney
Date: September 25, 2013




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